Case: 1:18-cv-01489 Document #: 37-9 Filed: 07/26/18 Page 1 of 5 PageID #:1094




                                EXHIBIT 9
Case: 1:18-cv-01489 Document #: 37-9 Filed: 07/26/18 Page 2 of 5 PageID #:1094
Case: 1:18-cv-01489 Document #: 37-9 Filed: 07/26/18 Page 3 of 5 PageID #:1094
Case: 1:18-cv-01489 Document #: 37-9 Filed: 07/26/18 Page 4 of 5 PageID #:1094
Case: 1:18-cv-01489 Document #: 37-9 Filed: 07/26/18 Page 5 of 5 PageID #:1094
